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         ORDERED in the Southern District of Florida on July 12, 2023.




                                                              Mindy A. Mora, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

         In re:                                            Case No.: 23-12383-MAM
         ASPEN SOBER LIVING, LLC,
         EIN XX-XXXXXXX                                    Chapter 11, Subchapter V


                            Debtor.
                                      /

                                 ORDER DISMISSING CHAPTER 11 CASE

               THIS CAUSE came before the Court for a hearing on July 11, 2023, upon the Debtor-in-

        Possession, ASPEN SOBER LIVING, LLC (“Debtor”)’s Motion to Dismiss [ECF No. 42] (the

        “Motion”). The Court, having carefully considered the Motion and the court file, having noted

        that the Motion and notice of the hearing thereon [ECF No. 43] were served on all creditors and

        parties in interest with proof of service at ECF No. 46 and that no objections or responses were

        filed or received, having heard argument presented at the hearing by counsel for the Debtor, having

        heard no opposition to the Motion raised at the hearing, and the stipulations announced on the




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record with respect of the Motion, finds it appropriate to grant the following relief given the facts

and circumstances of this case. Accordingly, it is

        ORDERED that

        1.      The Motion is GRANTED, and the Court finds cause to, and does hereby dismiss

this chapter 11 case, pursuant to 11 U.S.C. § 1112(b).

        2.      The foregoing notwithstanding, Debtor’s counsel, having represented that it holds

funds necessary to satisfy the awarded Subchapter V Trustee fees in trust, shall promptly remit the

awarded amount to the Subchapter V Trustee as a condition of dismissal.

        3.      In addition, the Court imposes a six (6) month bar from the Debtor re-filing any

petition for relief under title 11.

        4.      The Court reserves jurisdiction to enforce the terms of this Order.

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Submitted by:
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Stephen C. Breuer shall serve a copy of the signed order on all parties entitled to service thereof
and file with the court a certificate of service.




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